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Solicitor General                                                                                                                                 (512) 463-2100

                                                                       April 17, 2024


       VIA CM/ECF
       Mr. Lyle W. Cayce, Clerk
       Court of Appeals for The Fifth Circuit
       600 S. Maestri Place
       New Orleans, LA 70130-3408
                Re:            United States v. State of Texas, No. 24-50149
       Dear Mr. Cayce:
             Counsel provides Rule 28(j) notice of the Supreme Court’s decisions in
       DeVillier v. Texas, No. 22-913 (Apr. 16, 2024), and Labrador v. Poe, No. 23A763 (Apr.
       15, 2024). Both underscore errors with the district court’s facial, pre-enforcement
       injunction of S.B.4.

              In DeVillier, a unanimous Court agreed with Texas and directed plaintiffs
       alleging Takings Clause violations to seek relief under an established state-law cause
       of action. The Court explained that “[c]onstitutional rights do not typically come
       with a built-in cause of action” but “are generally invoked defensively” absent “an
       independent cause of action designed for that purpose” by Congress or by state law.
       Slip.Op.5. Further, because States have “a coordinate responsibility to enforce the
       Constitution,” federal courts “should not assume the States will refuse to honor the
       Constitution,” including when States apply “their regular modes of procedure.” Id.
       at 6 (cleaned up).

             Like many cases before it, DeVillier rebuts the district court’s theory that the
       federal government can offensively enforce another constitutional provision—here,
       the Supremacy Clause—absent a statutory cause of action enacted by Congress.
       Instead, Texas’s “regular mode[] of procedure” for assessing preemption (i.e.,
       pressing preemption defenses before state judges who apply the Supremacy Clause)
       should suffice. See Tex.Supp.Br.4.

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Letter to Mr. Cayce, Clerk
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        In Labrador, the Court stayed a pre-enforcement, facial injunction of an Idaho
law, with a majority questioning the propriety of non-party, statewide injunctions.
Three Justices found the State likely to succeed based on “the traditional equitable
rule” that cabins injunctive relief to the actually injured party, Slip.Op.4-6, 8 n.2
(Gorsuch, J., concurring), noting any other view would allow federal judges to
“govern an entire State … from their courtrooms,” id. at 10. Two more Justices
agreed the State was likely to succeed in challenging “the scope of the injunction.”
Id. at 10 n.4 (Kavanaugh, J., concurring); see also id. at 7, 10.

      Here, the district court facially enjoined every application of S.B.4—even
though it can never be enforced against Plaintiffs and without meaningful severability
analysis. Labrador confirms such an extraordinary order raises serious federalism and
separation-of-powers concerns and has no rooting in traditional equity practice.

                                                                Respectfully submitted,

                                                                 /s/ Aaron L. Nielson
                                                                Aaron L. Nielson
                                                                Counsel for the State of Texas

cc: All counsel of record (via CM/ECF)




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      (Slip Opinion)              OCTOBER TERM, 2023                                       1

                                             Syllabus

               NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
             being done in connection with this case, at the time the opinion is issued.
             The syllabus constitutes no part of the opinion of the Court but has been
             prepared by the Reporter of Decisions for the convenience of the reader.
             See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


      SUPREME COURT OF THE UNITED STATES

                                             Syllabus

                           DEVILLIER ET AL. v. TEXAS

       CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                         THE FIFTH CIRCUIT

          No. 22–913.      Argued January 16, 2024—Decided April 16, 2024
      Richard DeVillier and more than 120 other petitioners own property
        north of U. S. Interstate Highway 10 between Houston and Beaumont,
        Texas. The dispute here arose after the State of Texas took action to
        use portions of I–10 as a flood evacuation route, installing a roughly 3-
        foot-tall barrier along the highway median to act as a dam. When sub-
        sequent hurricanes and storms brought heavy rainfall, the median
        barrier performed as intended, keeping the south side of the highway
        open. But it also flooded petitioners’ land to the north, causing signif-
        icant damage to their property. DeVillier filed suit in Texas state
        court. He alleged that by building the median barrier and using his
        property to store stormwater, Texas had effected a taking of his prop-
        erty for which the State must pay just compensation. Other property
        owners filed similar suits. Texas removed the cases to federal court,
        where they were consolidated into a single proceeding with one
        operative complaint. The operative complaint includes inverse-
        condemnation claims under both the Texas Constitution and the Tak-
        ings Clause of the Fifth Amendment. As relevant, Texas moved to dis-
        miss the federal inverse-condemnation claim, arguing that a plaintiff
        has no cause of action arising directly under the Takings Clause. The
        District Court denied Texas’ motion, concluding that a property owner
        may sue a State directly under the Takings Clause. The Fifth Circuit
        reversed, holding “that the Fifth Amendment Takings Clause as ap-
        plied to the states through the Fourteenth Amendment does not pro-
        vide a right of action for takings claims against a state.” 53 F. 4th 904
        (per curiam).
      Held: DeVillier and the other property owners should be permitted to
       pursue their claims under the Takings Clause through the cause of
       action available under Texas law. The Takings Clause of the Fifth
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      2                          DEVILLIER v. TEXAS

                                        Syllabus

          Amendment states: “nor shall private property be taken for public use,
          without just compensation.” The Court has explained that “a property
          owner acquires an irrevocable right to just compensation immediately
          upon a taking” “[b]ecause of ‘the self-executing character’ of the Tak-
          ings Clause ‘with respect to compensation.’ ” Knick v. Township of
          Scott, 588 U. S. 180, 192 (quoting First English Evangelical Lutheran
          Church of Glendale v. County of Los Angeles, 482 U. S. 304, 315). The
          question here concerns the procedural vehicle by which a property
          owner may seek to vindicate that right. Constitutional rights do not
          typically come with a built-in cause of action to allow for private en-
          forcement in courts, see Egbert v. Boule, 596 U. S. 482, 490–491, and
          so they are asserted offensively pursuant to an independent cause of
          action designed for that purpose, see, e.g., 42 U. S. C. §1983. DeVillier
          relies on First English and other cases to argue that the Takings
          Clause creates by its own force a cause of action authorizing suits for
          just compensation. But those cases do not directly confront whether
          the Takings Clause provides a cause of action. It would be imprudent
          to decide that question without first establishing the premise in the
          question presented that no other cause of action exists to vindicate the
          property owner’s rights under the Takings Clause. Texas state law
          does provide an inverse-condemnation cause of action by which prop-
          erty owners may seek just compensation against the State based on
          both the Texas Constitution and the Takings Clause. This case there-
          fore does not present the circumstance in which a property owner has
          no cause of action to seek just compensation. The Court therefore re-
          mands so that DeVillier and the other property owners may proceed
          through the cause of action available under Texas law. Pp. 4–7.
      53 F. 4th 904, vacated and remanded.

          THOMAS, J., delivered the opinion for a unanimous Court.
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                              Cite as: 601 U. S. ____ (2024)                              1

                                   Opinion of the Court

           NOTICE: This opinion is subject to formal revision before publication in the
           United States Reports. Readers are requested to notify the Reporter of
           Decisions, Supreme Court of the United States, Washington, D. C. 20543,
           pio@supremecourt.gov, of any typographical or other formal errors.


      SUPREME COURT OF THE UNITED STATES
                                         _________________

                                         No. 22–913
                                         _________________


       RICHARD DEVILLIER, ET AL., PETITIONERS v. TEXAS
       ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                  APPEALS FOR THE FIFTH CIRCUIT
                                       [April 16, 2024]

         JUSTICE THOMAS delivered the opinion of the Court.
         Richard DeVillier alleges that the State of Texas took his
      property for stormwater storage. He sought just compensa-
      tion under the Takings Clause of the Fifth Amendment, ar-
      guing that the Constitution itself authorized him to bring
      suit. We granted certiorari to decide whether “a person
      whose property is taken without compensation [may] seek
      redress under the self-executing Takings Clause even if the
      legislature has not affirmatively provided them with a
      cause of action.” Pet. for Cert. i. That question assumes
      the property owner has no separate cause of action under
      which to bring a claim based on the Takings Clause. But,
      that is not the case here. Texas law provides a cause of ac-
      tion that allows property owners to vindicate their rights
      under the Takings Clause. We therefore vacate and re-
      mand so that DeVillier’s claims may proceed under Texas’
      state-law cause of action.
                                   I
        Richard DeVillier and more than 120 other petitioners
      own property north of U. S. Interstate Highway 10 between
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      2                       DEVILLIER v. TEXAS

                              Opinion of the Court

      Houston and Beaumont, Texas.1 The State of Texas under-
      took several projects to facilitate the use of that portion of
      the highway as a flood-evacuation route. It installed a
      roughly 3-foot-tall barrier along the highway median to act
      as a dam, preventing stormwater from covering the south
      side of the road.
        In August 2017, Hurricane Harvey brought heavy rain-
      fall to southeast Texas. The new median barrier performed
      as intended, keeping the south side of the highway open.
      But, it also flooded petitioners’ land to the north, displacing
      them from their homes, damaging businesses, ruining
      crops, killing livestock, and destroying family heirlooms.
      The same thing happened during Tropical Storm Imelda in
      2019. As depicted, the median barrier kept the south side
      of the highway open (on the left side of both pictures) by
      holding back stormwater, which then submerged property
      north of the highway (on the right side of both pictures):




      Figure 1



      ——————
        1 Because this case comes to us at the pleading stage, we assume the

      truth of the facts alleged in the operative complaint. See, e.g.,
      Swierkiewicz v. Sorema N. A., 534 U. S. 506, 508, n. 1 (2002).
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                           Opinion of the Court




      Figure 2

        Because heavy rainfall is not uncommon in southeast
      Texas, the median barrier will continue to cause flooding on
      DeVillier’s land during future storms.
        DeVillier filed suit in Texas state court. He alleged that,
      by building the median barrier and using his property to
      store stormwater, Texas had effected a taking of his prop-
      erty. DeVillier argued that he was therefore entitled to just
      compensation under both the United States and Texas Con-
      stitutions. Other property owners filed similar suits. Texas
      removed the cases to federal court, where they were consol-
      idated into a single proceeding with one operative
      complaint. The operative complaint includes inverse-
      condemnation claims under both the Texas Constitution
      and the Takings Clause of the Fifth Amendment. See Knick
      v. Township of Scott, 588 U. S. 180, 186 (2019) (“Inverse
      condemnation is a cause of action against a governmental
      defendant to recover the value of property which has been
      taken in fact by the governmental defendant” (internal quo-
      tation marks omitted)).
        As relevant, Texas moved to dismiss the federal inverse-
      condemnation claim, arguing that a plaintiff has no cause
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      4                    DEVILLIER v. TEXAS

                            Opinion of the Court

      of action arising directly under the Takings Clause. It con-
      tended that only Rev. Stat. §1979, 42 U. S. C. §1983, pro-
      vides a vehicle to assert constitutional violations, and §1983
      does not authorize claims against a State. DeVillier did not
      dispute that he intended to bring his federal claim directly
      under the Fifth Amendment. Instead, he responded that
      the Takings Clause is “self-executing,” which, he argued,
      means that the Clause itself provides a cause of action for
      just compensation.
         The District Court denied Texas’ motion, concluding that
      a property owner may sue a State directly under the Tak-
      ings Clause. The Court of Appeals disagreed. In a one-
      paragraph opinion, it “h[eld] that the Fifth Amendment
      Takings Clause as applied to the states through the Four-
      teenth Amendment does not provide a right of action for
      takings claims against a state.” 53 F. 4th 904 (CA5 2023)
      (per curiam).
         We granted certiorari to decide whether a property owner
      may sue for just compensation directly under the Takings
      Clause. 600 U. S. ___ (2023). We now vacate and remand
      for further proceedings.
                                   II
         The Takings Clause of the Fifth Amendment states: “nor
      shall private property be taken for public use, without just
      compensation.” We have explained that “a property owner
      acquires an irrevocable right to just compensation immedi-
      ately upon a taking” “[b]ecause of ‘the self-executing char-
      acter’ of the Takings Clause ‘with respect to compensa-
      tion.’ ” Knick, 588 U. S., at 192 (quoting First English
      Evangelical Lutheran Church of Glendale v. County of Los
      Angeles, 482 U. S. 304, 315 (1987)). Texas does not dispute
      the nature of the substantive right to just compensation.
      This case presents only a question regarding the procedural
      vehicle by which a property owner may seek to vindicate
      that right.
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                             Opinion of the Court

         Constitutional rights do not typically come with a built-
       in cause of action to allow for private enforcement in courts.
       See Egbert v. Boule, 596 U. S. 482, 490–491 (2022). Instead,
       constitutional rights are generally invoked defensively in
       cases arising under other sources of law, or asserted offen-
       sively pursuant to an independent cause of action designed
       for that purpose, see, e.g., 42 U. S. C. §1983. DeVillier ar-
       gues that the Takings Clause is an exception. He relies on
       First English Evangelical Lutheran Church of Glendale v.
       County of Los Angeles to assert that the just-compensation
       requirement of the Takings Clause is “self-executing” and
       that “[s]tatutory recognition [is] not necessary” for takings
       claims because they “are grounded in the Constitution it-
       self.” 482 U. S., at 315 (internal quotation marks omitted).
       In other words, the Takings Clause creates by its own force
       a cause of action authorizing suits for just compensation.
         The cases that DeVillier cites do not directly confront
       whether the Takings Clause provides a cause of action for
       just compensation. First English itself proceeded under a
       state-law cause of action. Id., at 313–314, n. 8. DeVillier
       also points to several takings cases where property owners
       sought injunctions to prevent the Government from inter-
       fering with their property rights, such as by obtaining ease-
       ments or imposing zoning regulations. See Dohany v. Rog-
       ers, 281 U. S. 362, 364 (1930); Delaware, L. & W. R. Co. v.
       Morristown, 276 U. S. 182, 188 (1928); Village of Euclid v.
       Ambler Realty Co., 272 U. S. 365, 384 (1926); Cuyahoga
       River Power Co. v. Akron, 240 U. S. 462, 463 (1916); Nor-
       wood v. Baker, 172 U. S. 269, 276 (1898). Because none of
       those cases relied on §1983 for a cause of action, he reasons
       that those cases must have proceeded directly under the
       Constitution. But, the mere fact that the Takings Clause
       provided the substantive rule of decision for the equitable
       claims in those cases does not establish that it creates a
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                                 Opinion of the Court

       cause of action for damages, a remedy that is legal, not eq-
       uitable, in nature.2 That said, the absence of a case relying
       on the Takings Clause for a cause of action does not by itself
       prove there is no cause of action. It demonstrates only that
       constitutional concerns do not arise when property owners
       have other ways to seek just compensation. Our precedents
       do not cleanly answer the question whether a plaintiff has
       a cause of action arising directly under the Takings Clause.
          But, this case does not require us to resolve that question.
       The question presented asks what would happen if a prop-
       erty owner had no cause of action to vindicate his rights un-
       der the Takings Clause. It would be imprudent to decide
       that question without satisfying ourselves of the premise
       that there is no cause of action. Our constitutional system
       assigns to state officers “a coordinate responsibility to en-
       force [the Constitution] according to their regular modes of
       procedure.” Howlett v. Rose, 496 U. S. 356, 367 (1990). It
       therefore looks to “[t]he good faith of the States [to]
       provid[e] an important assurance that ‘this Constitution,
       and the Laws of the United States which shall be made in
       Pursuance thereof shall be the supreme Law of the Land.’ ”
       Alden v. Maine, 527 U. S. 706, 755 (1999) (quoting U. S.
       Const., Art. VI; original alterations omitted). We should
       not “assume the States will refuse to honor the Constitu-
       tion,” including the Takings Clause, because “States and
       their officers are [also] bound by obligations imposed by the
       Constitution.” 527 U. S., at 755.
          The premise that Texas left DeVillier with no cause of ac-
       tion to obtain the just compensation guaranteed by the Tak-
       ings Clause does not hold. Texas state law provides a cause

       ——————
         2 The significance of DeVillier’s equitable cases is further obscured by

       fundamental changes to the law of equity that postdate those decisions.
       Compare Fed. Rule Civ. Proc. 2 with A. Bellia & B. Clark, The Original
       Source of the Cause of Action in Federal Courts, 101 Va. L. Rev. 609, 653
       (2015).
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                            Opinion of the Court

       of action by which property owners may seek just compen-
       sation against the State. As Texas explained at oral argu-
       ment, its state-law inverse-condemnation cause of action
       provides a vehicle for takings claims based on both the
       Texas Constitution and the Takings Clause. Tr. of Oral
       Arg. 38; id., at 40 (citing Baytown v. Schrock, 645 S. W. 3d
       174 (Tex. 2022)); Tr. of Oral Arg. 59–60. And, although
       Texas asserted that proceeding under the state-law cause
       of action would require an amendment to the complaint, it
       also assured the Court that it would not oppose any attempt
       by DeVillier and the other petitioners to seek one. Id., at
       41, 61, 64. This case therefore does not present the circum-
       stance in which a property owner has no cause of action to
       seek just compensation. On remand, DeVillier and the
       other property owners should be permitted to pursue their
       claims under the Takings Clause through the cause of ac-
       tion available under Texas law.
                                 III
         The judgment of the Court of Appeals is vacated, and the
       case is remanded for further proceedings consistent with
       this opinion.
                                                  It is so ordered.
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        Attachment B: L ABRADOR V . P OE
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                           GORSUCH, J., concurring

       SUPREME COURT OF THE UNITED STATES
                                 _________________

                                  No. 23A763
                                 _________________


        RAUL LABRADOR, ATTORNEY GENERAL OF IDAHO
         v. PAM POE, BY AND THROUGH HER PARENTS AND NEXT
              FRIENDS, PENNY AND PETER POE, ET AL.

                        ON APPLICATION FOR STAY
                                [April 15, 2024]

          The application for stay presented to JUSTICE KAGAN and
       by her referred to the Court is granted. The December 26,
       2023 order of the United States District Court for the Dis-
       trict of Idaho, case No. 1:23-cv-269, is stayed, except as to
       the provision to the plaintiffs of the treatments they sought
       below, pending the disposition of the appeal in the United
       States Court of Appeals for the Ninth Circuit and disposi-
       tion of a petition for a writ of certiorari, if such a writ is
       timely sought. Should certiorari be denied, this stay shall
       terminate automatically. In the event certiorari is granted,
       the stay shall terminate upon the sending down of the judg-
       ment of this Court.
          JUSTICE KAGAN would deny the application for stay.
          JUSTICE GORSUCH, with whom JUSTICE THOMAS and
       JUSTICE ALITO join, concurring in the grant of stay.
          Early in the litigation below, the district court issued a
       preliminary injunction. Ordinarily, injunctions like these
       may go no further than necessary to provide interim relief
       to the parties. In this case, however, the district court went
       much further, prohibiting a State from enforcing any aspect
       of its duly enacted law against anyone. Today, the Court
       stays the district court’s injunction to the extent it applies
       to nonparties, which is to say to the extent it provides “uni-
       versal” relief. That is a welcome development.
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       2                     LABRADOR v. POE

                           GORSUCH, J., concurring

                                        I
          To appreciate the significance of the Court’s ruling, some
       background helps. In 2023, Idaho adopted the Vulnerable
       Child Protection Act. The law sought to regulate a number
       of “ ‘practices upon a child for the purpose of attempting to
       alter the . . . child’s sex.’ ” ___ F. Supp. 3d ___, ___ (Idaho
       2023), App. A to Application for Stay 5. Those practices
       range from “surgeries that sterilize or mutilate” a child’s
       genitals to the supply of “[p]uberty-blocking medication.”
       Ibid. Idaho claimed that its law aimed to protect children
       from treatments that can cause “lasting harm and irreversi-
       ble damage.” Id., at 51 (internal quotation marks omitted).
       The law’s provisions were scheduled to take effect January
       1, 2024.
          Before that could happen, two children and their parents
       sued Idaho’s attorney general and a local prosecutor in fed-
       eral district court. The children and their parents alleged
       that, without access to puberty blockers and estrogen, the
       two minor plaintiffs would likely suffer serious mental
       health problems. Decl. of P. Poe in No. 1:23–cv–269 (D
       Idaho), ECF Doc. 32–2, ¶¶14, 19, 22; Decl. of J. Doe, ECF
       Doc. 32–4, ¶¶14, 16, 23–24. Shortly after filing suit, the
       plaintiffs asked the district court to issue a preliminary in-
       junction.
          The district court agreed to do so. But instead of enjoin-
       ing state officials from enforcing the law with respect to the
       plaintiffs and the drug treatments they sought, the district
       court entered a universal injunction. App. A to Application
       for Stay 52–54. That is, the court prohibited the defendants
       from enforcing “any provision” of the law under any circum-
       stances during the life of the parties’ litigation. Id., at 54.
       Among other things, this meant Idaho could not enforce its
       prohibition against surgeries to remove or alter children’s
       genitals, even though no party before the court had sought
       access to those surgeries or demonstrated that Idaho’s pro-
       hibition of them offended federal law. The court’s order
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                           GORSUCH, J., concurring

       promised to suspend Idaho’s law indefinitely, too, as this
       litigation (like many today) may take years to reach final
       judgment.
          Idaho responded by appealing the district court’s prelim-
       inary injunction decision to the Ninth Circuit. The State
       also asked the Ninth Circuit to stay the preliminary injunc-
       tion during the pendency of the appeal. At the least, the
       State argued, the court of appeals should stay the universal
       aspect of the district court’s injunction so that at least some
       portions of its duly enacted law might finally take effect.
          After the Ninth Circuit denied Idaho’s stay request in a
       brief unreasoned order, the State proceeded here. Before
       us, the State does not challenge the preliminary injunction
       to the extent it ensures the two minor plaintiffs in this case
       continued access to their drug treatments. That aspect of
       the district court’s order will remain in place pending ap-
       peal. The State asks us to stay the preliminary injunction
       only to the extent it bars Idaho from enforcing any aspect
       of its law against any person anywhere in the State.
                                      II
          Stay motions and other requests for interlocutory relief
       are nothing new or particularly remarkable. In truth, they
       are perhaps “as old as the judicial system of the [N]ation.”
       Scripps-Howard Radio, Inc. v. FCC, 316 U. S. 4, 17 (1942).
       Every federal court in this country has within its “tradi-
       tional” toolkit the power to pause temporarily its own order
       or one of a lower court or issue other forms of interim relief.
       Id., at 9; see 28 U. S. C. §1651(a); this Court’s Rule 23.1;
       Fed. Rule App. Proc. 8(a). Often, judges at all levels of the
       federal judiciary resolve motions for interlocutory relief in
       brief orders like the one the Court issues today and the
       Ninth Circuit did below. Judges have proceeded this way
       throughout the Nation’s history. Indeed, many courts could
       not efficiently manage their dockets otherwise. Cf. Wilson
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       4                      LABRADOR v. POE

                            GORSUCH, J., concurring

       v. Sellers, 584 U. S. 122, 139 (2018) (GORSUCH, J., dissent-
       ing) (“[A] busy appellate court may sometimes not see the
       profit in devoting its limited resources to explaining the er-
       ror [or] alternative basis for affirming . . . so it issues a sum-
       mary affirmance instead”).
          Just as familiar are the rules that govern stay applica-
       tions. This Court, like every other federal court, is “guided”
       by the same “sound . . . principles.” Nken v. Holder, 556
       U. S. 418, 434 (2009) (internal quotation marks omitted);
       see Trump v. International Refugee Assistance Project, 582
       U. S. 571, 580 (2017) (per curiam); id., at 584 (THOMAS, J.,
       concurring in part and dissenting in part). We ask (1)
       whether the stay applicant has made a strong showing that
       it is likely to succeed on the merits, (2) whether it will suffer
       irreparable injury without a stay, (3) whether the stay will
       substantially injure other parties interested in the proceed-
       ings, and (4) where the public interest lies. Nken, 556 U. S.,
       at 434. A court’s “ ‘ “discretion” ’ ” to enter a stay is thus not
       left up to its mere “ ‘ “inclination, but to its judgment” ’ ” re-
       garding each of these time-tested considerations. Ibid.
       (quoting Martin v. Franklin Capital Corp., 546 U. S. 132,
       139 (2005), in turn quoting United States v. Burr, 25 F. Cas.
       30, 35 (No. 14,692d) (CC Va. 1807) (Marshall, C. J.)).
          Applying that traditional stay test here yields a ready an-
       swer. Start with the first question: whether Idaho has
       shown it is likely to succeed on the merits. This Court has
       long held that a federal court’s authority to fashion equita-
       ble relief is ordinarily constrained by the rules of equity
       known “ ‘at the time of the separation of ’ ” this country from
       Great Britain. Grupo Mexicano de Desarrollo, S. A. v. Alli-
       ance Bond Fund, Inc., 527 U. S. 308, 318 (1999); see Guar-
       anty Trust Co. v. New York, 326 U. S. 99, 105 (1945); Boyle
       v. Zacharie & Turner, 6 Pet. 648, 658 (1832). Under those
       rules, this Court has said, a federal court may not issue an
       equitable remedy “more burdensome to the defendant than
       necessary to [redress]” the plaintiff ’s injuries. Califano v.
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       Yamasaki, 442 U. S. 682, 702 (1979); see Gill v. Whitford,
       585 U. S. 48, 68 (2018) (“[A] ‘remedy must . . . be limited to
       the inadequacy that produced the injury in fact that the
       plaintiff has established’ ”); Rhode Island v. Massachusetts,
       12 Pet. 657, 718 (1838); Department of Homeland Security
       v. New York, 589 U. S. ___, ___ (2020) (DHS) (GORSUCH, J.,
       concurring in grant of stay) (slip op., at 3); United States v.
       Texas, 599 U. S. 670, 693 (2023) (GORSUCH, J., concurring
       in judgment); S. Bray, Multiple Chancellors: Reforming the
       National Injunction, 131 Harv. L. Rev. 417, 425–428 (2017).
          The district court’s universal injunction defied these
       foundational principles. It did not just vindicate the plain-
       tiffs’ access to the drug treatments they sought. It pur-
       ported to bar the enforcement of “any provision” of the law
       against anyone. App. A to Application for Stay 54. The dis-
       trict court issued this sweeping relief even though, by its
       own admission, the plaintiffs had failed to “engage” with
       other provisions of Idaho’s law that don’t presently affect
       them—including the law’s provisions prohibiting the surgi-
       cal removal of children’s genitals. Id., at 52. In choosing
       such an extraordinary remedy, the district court clearly
       strayed from equity’s traditional bounds.
          The remaining stay factors—the relative harms to the
       parties and the public interest—point to the same conclu-
       sion. Members of this Court have long held that, “ ‘[a]ny
       time a State is enjoined by a court from effectuating stat-
       utes enacted by representatives of its people, it suffers a
       form of irreparable injury.’ ” Maryland v. King, 567 U. S.
       1301, 1303 (2012) (ROBERTS, C. J., in chambers) (quoting
       New Motor Vehicle Bd. of Cal. v. Orrin W. Fox Co., 434 U. S.
       1345, 1351 (1977) (Rehnquist, J., in chambers)). Likewise,
       this Court has held that “[t]here is always a public interest
       in prompt execution” of the law, absent a showing of its un-
       constitutionality. Nken, 556 U. S., at 436.
          Both considerations favor Idaho. The district court pur-
       ported to bar the State from bringing into effect portions of
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       a statute that no party has shown, and no court has held,
       likely offensive to federal law. The district court’s order
       promised to run for the life of this lawsuit, thus preventing
       Idaho from executing any aspect of its law for years. Mean-
       while, the plaintiffs face no harm from the partial stay the
       State requests. Even with it, the district court’s prelimi-
       nary injunction will operate to prevent state authorities
       from taking any action to interfere with their ability to ac-
       cess the particular drug treatments they seek.
                                      III
         The dissent disputes none of this. It does not question
       that Idaho is entitled to relief under this Court’s traditional
       stay test. Instead, it laments the number of requests for
       interim relief this Court has recently faced in “high-profile”
       cases. Post, at 1 (JACKSON, J., dissenting from the grant of
       stay). To deter future applications of that sort, the dissent
       proposes adding to our traditional stay test new factors al-
       ien to our precedents and historic equitable practice. Re-
       spectfully, however, the dissent’s proposals miss the mark.
         First, the dissent suggests that we should refuse to inter-
       vene when both a district court and a court of appeals have
       refused a party’s request for interim relief. Post, at 2. But
       the dissent does not explain how this system of upside-down
       precedent works, where the Supreme Court is somehow
       bound to follow lower court decisions. Of course, no one
       questions that the Court should (as it does) afford due re-
       spect to the work of our lower court colleagues. See, e.g.,
       Little v. Reclaim Idaho, 591 U. S. ___, ___ (2020) (ROBERTS,
       C. J., concurring in grant of stay) (slip op., at 5). But the
       dissent does not explain why due respect should be replaced
       with abject deference, or how the rule it proposes would al-
       low us to discharge faithfully our own obligation to assess
       fairly and independently the cases that come to us. Nor, for
       that matter, does the dissent attempt to reconcile its pro-
       posed new rule with the fact that, over the last 12 months,
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       this Court has (repeatedly) granted interim relief to the fed-
       eral government in the face of contrary lower court rulings.1
          Perhaps sensing these problems and convinced of the cor-
       rectness of this Court’s recent interventions, the dissent ul-
       timately fashions itself an escape hatch. Tucked away in a
       footnote, the dissent adds that it does not mean to suggest
       that the “burden” of overcoming adverse lower court deci-
       sions “can never be carried.” Post, at 3, n. 1. But if that’s
       true, when does the dissent believe we should intervene,
       and when not? And why was it appropriate for this Court
       to override lower court decisions in so many other recent
       cases but it is inappropriate to do the same here? The dis-
       sent never says. So much for the added clarity and “re-
       straint” it hopes to bring to our law. Post, at 7.
          Second, the dissent suggests that, before granting relief,
       we should ask whether a case is “certworthy.” Post, at 4.
       But it isn’t clear how that would help matters either. In the
       past, various individual Justices faced with requests for in-
       terlocutory relief in chambers, sometimes while the Court
       stood in recess, considered whether four Justices would
       likely agree to take up the dispute. That practice may be
       understandable. But when hearing many stay requests,
       this one included, we sit as a full Court. And here, a major-
       ity has decided that this case is worthy of the Court’s atten-
       tion.
          It has done so, too, for good reason. This case poses a
       question about the propriety of universal injunctive relief—
       a question of great significance that has been in need of the

       ——————
         1 See, e.g., Murthy v. Missouri, 601 U. S. ___ (2023) (overriding a lower

       court order prohibiting the government from coercing or encouraging so-
       cial media companies to censor private speech); Garland v. Blackhawk
       Mfg. Group, Inc., 601 U. S. ___ (2023) (setting aside a lower court order
       prohibiting the government from enforcing its regulation restricting the
       sale of ghost guns); FDA v. Alliance for Hippocratic Medicine, 598 U. S.
       ___ (2023) (countermanding a lower court order staying the Food and
       Drug Administration’s approval of mifepristone, an abortion drug).
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       Court’s attention for some time. DHS, 589 U. S., at ___
       (opinion of GORSUCH, J.) (slip op., at 3); Griffin v. HM Flor-
       ida-ORL, LLC, 601 U. S. ___, ___ (2023) (statement of
       KAVANAUGH, J.) (slip op., at 3). This case also implicates an
       apparent circuit split, as courts of appeals have disagreed
       about whether district courts may issue the sort of sweep-
       ing relief the district court issued here when faced with
       laws very much like Idaho’s. See, e.g., Brandt v. Rutledge,
       47 F. 4th 661, 672 (CA8 2022); L. W. v. Skrmetti, 83 F. 4th
       460, 489–490 (CA6 2023). Even applying the dissent’s pro-
       posed standard for relief, then, this case would seem to sat-
       isfy it.2
          Third, the dissent suggests that the Court should exer-
       cise more “caution” and “restraint” in cases like this one,
       where a party does not challenge the entry of a preliminary
       injunction but asks us to address only the scope of the rem-
       edy it provides. Post, at 2, 4–5. But if “caution” and “re-
       straint” are our watchwords, why would a party’s request
       ——————
          2 The dissent seeks to downplay the “certworthiness” of this case by

       recasting the universal aspect of the district court’s order as an “inci-
       denta[l]” feature designed to protect the plaintiffs’ anonymity. See post,
       at 3, n. 2, 4, and n. 3. But labeling universal relief incidental does not
       make it so. The district court faced two plaintiffs seeking access to cer-
       tain specific treatments, yet it issued an order applicable to all potential
       nonparties and all regulated treatments. There was nothing incidental
       about it. Tellingly, too, the district court nowhere paused to address the
       adequacy of less intrusive (and truly incidental) measures to protect the
       plaintiffs’ anonymity—for example, a sealed order, shared with pertinent
       state authorities and the plaintiffs’ physicians, guaranteeing them ac-
       cess to the particular treatments they seek. Today, the Court supplies a
       much-needed reminder that courts cannot so easily sidestep the tradi-
       tional equitable rule that the relief a federal court may issue “must . . .
       be limited to the inadequacy that produced the injury in fact that the
       plaintiff has established.” Gill v. Whitford, 585 U. S. 48, 68 (2018) (in-
       ternal quotation marks omitted). In doing so, the Court does not, as the
       dissent suggests, “ignor[e]” the district court’s reason for granting uni-
       versal relief. Post, at 4, n. 3. Rather, the Court recognizes that “aspect
       of the District Court’s decision” for what it is—an unpersuasive depar-
       ture from our precedents. Ibid.
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       for narrower rather than broader relief “counsel against our
       intervention”? Post, at 2. Do we really want to incentivize
       parties to seek more sweeping relief in order to enhance
       their chances of success in this Court? And how does it
       serve “caution” and “restraint” for this Court to allow lower
       courts to transgress foundational remedial principles more
       readily than foundational liability principles? Especially
       when pursuing that course would mean (as it does here)
       that a single federal judge may erroneously suspend the op-
       eration of a law adopted by the people’s elected representa-
       tives for years on end? Once more, the dissent offers no an-
       swers.
          Fourth, the dissent contends that we should exercise spe-
       cial “caution” when considering whether to intervene in
       “high-profile cases.” Post, at 1. But by any measure, a great
       deal of caution is already baked into the Nken analysis. To
       warrant this Court’s intervention, an applicant seeking a
       stay must make a “ ‘strong showing’ ” on the merits, demon-
       strate an “ ‘irreparable’ ” harm, and persuade the Court that
       the public interest warrants intervention. Nken, 556 U. S.,
       at 434. The dissent does not explain why these traditional
       cautionary notes are insufficient.
          Nor does it explain why we should reserve an added new
       measure of caution for “high profile” matters alone. I would
       have thought that, as judges, we should neither deliber-
       ately seek out nor evade “high-profile” disputes, but afford
       all litigants who come before us their lawful due. Even tak-
       ing the dissent’s test on its own terms, too, my colleagues
       fail to explain why this case qualifies for special caution as
       “high profile” but so many others in the last 12 months did
       not. Does anyone really think that this Court’s recent in-
       terventions—in cases involving ghost guns, allegations of
       government censorship, and abortion access—were war-
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       ranted because the laws at issue there were less “high-pro-
       file” than Idaho’s? See n. 1, supra.3
                                      IV
          None of this is to suggest the dissent is without a point.
       Perhaps the Court has seen a rise in the number of applica-
       tions for interim relief. But if so, it seems to me that this
       trend is not the result of (nor does it justify tinkering with)
       this Court’s precedents and traditional equitable stand-
       ards. Instead, at least part of the problem may be attribut-
       able to a departure from those precedents and standards in
       the lower courts. In recent years, certain district courts
       across the country have not contented themselves with is-
       suing equitable orders that redress the injuries of the plain-
       tiffs before them, but have sought instead to govern an en-
       tire State or even the whole Nation from their courtrooms.
       Today, Idaho is on the receiving end of one of these univer-
       sal injunctions, but lately it has often been the federal gov-
       ernment.4
       ——————
          3 The dissent chides me for neglecting to mention that the State

       stamped the word “EMERGENCY” on the front cover of its stay applica-
       tion. Post, at 5. But it is not obvious what point the dissent is trying to
       make. Post, at 6, n. 4. In its recent stay applications, the federal gov-
       ernment hasn’t always affixed a similar stamp on its papers. See, e.g.,
       Application in No. 23A302, Garland v. Blackhawk Mfg. Group, Inc. (Oct.
       5, 2023); Application in No. 23A243, Murthy v. Missouri (Sept. 14, 2023);
       Application in No. 22A902, FDA v. Alliance for Hippocratic Medicine
       (Apr. 14, 2023). Should we have denied those applications on that basis?
       In truth, every applicant for interim relief believes its case qualifies as
       an “emergency.” Our traditional stay test helps us evaluate those asser-
       tions by focusing our attention on factors such as irreparable harm, the
       balance of equities, and the public interest. The dissent does not explain
       what additional value an “emergency” test would provide or what neutral
       principle would guide our analysis. Nor, for that matter, does the dissent
       square its proposed new “emergency” test with its other proposals. Take
       the dissent’s preference for avoiding high-profile cases. See post, at 1, 5.
       Does the dissent mean to suggest that we should grant relief only in
       “emergencies,” but only so long as they also keep a low profile?
          4 Many of this Court’s recent orders granting interim relief were the
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          As best I can tell, universal injunctions are a relatively
       new phenomenon. By some accounts, universal injunctions
       against the federal government during President Franklin
       D. Roosevelt’s tenure—those 12 eventful years covering the
       Great Depression, the New Deal, and most of World War
       II—were virtually unknown. See Bray, 131 Harv. L. Rev.,
       at 434–435. Others have pointed to a single example of a
       “nation-wide” decree during that period, but there the
       Court reversed the lower court’s “sweeping” ruling for lack
       of standing. Perkins v. Lukens Steel Co., 310 U. S. 113, 117,
       120–121 (1940). Even as late as President Barack Obama’s
       administration, some estimate that lower courts issued
       only about 19 universal injunctions against the federal gov-
       ernment over the course of eight years. See Dept. of Justice,
       J. Rosen, Opening Remarks at Forum on Nationwide In-
       junctions and Federal Regulatory Programs (Feb. 12, 2020).
       Since then, however, universal injunctions have prolifer-
       ated. By one count, lower courts issued 55 universal injunc-
       tions during the first three years of President Donald
       Trump’s administration. Ibid. And if the last 12 months
       are any indication, it seems that trend has continued apace
       during the administration of President Joseph R. Biden, Jr.
       See, e.g., n. 1, supra (citing examples).
          A rising number of universal injunctions virtually guar-
       antees that a rising number of “high-profile” cases will find
       their way to this Court. Just consider this case. Idaho does
       not challenge the district court’s injunction to the extent it
       addresses the plaintiffs’ asserted injuries. The State seeks
       relief here only because and to the extent the district court
       prevented it from enforcing any aspect of its duly enacted
       ——————
       product of a different and unrelated problem: the profound “intrusions
       on civil liberties” governments attempted in response to COVID–19. Ar-
       izona v. Mayorkas, 598 U. S. ___, ___ (2023) (statement of GORSUCH, J.)
       (slip op., at 4). And, “[n]ot surprisingly,” the number of requests for in-
       terim relief in this Court “has shrunk in the years since COVID–19.”
       Post, at 11, n. 5 (KAVANAUGH, J., concurring in the grant of stay).
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       law against anyone—all without any showing that other
       provisions in the statute violate federal law or the rights of
       any current party. As in so many other recent cases, the
       district court’s universal injunction effectively transformed
       a limited dispute between a small number of parties focused
       on one feature of a law into a far more consequential refer-
       endum on the law’s every provision as applied to anyone.
          What’s worse, universal injunction practice is almost by
       design a fast and furious business. Normally, parties spend
       “their time methodically developing arguments and evi-
       dence” before proceeding to a trial and final judgment lim-
       ited to the persons and claims at hand. DHS, 589 U. S., at
       ___ (opinion of GORSUCH, J.) (slip op., at 3). If they seek
       relief for a larger group of persons, they must join those in-
       dividuals to the suit or win class certification. In universal-
       injunction practice, none of that is necessary. Just do a lit-
       tle forum shopping for a willing judge and, at the outset of
       the case, you can win a decree barring the enforcement of a
       duly enacted law against anyone. Once that happens, the
       affected government (state or federal) will often under-
       standably feel bound to seek immediate relief from one
       court and then the next, with the finish line in this Court.
       After all, if the government does not act promptly, it can
       expect a law that the people’s elected representatives have
       adopted as necessary and appropriate to their present cir-
       cumstances will remain ineffectual for years on end. In all
       these ways, universal injunctions circumvent normal judi-
       cial processes and “tend to force judges into making rushed,
       high-stakes, low-information decisions” at all levels. Id., at
       ___ (opinion of GORSUCH, J.) (slip op., at 4).
          Today, the Court takes a significant step toward address-
       ing the problem. It does so not by reworking our precedents
       and traditional equitable practices, but by enforcing them.
       It focuses directly on a root cause of the recent proliferation
       of interlocutory litigation in “high profile” matters, sets
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       aside a district court’s universal injunction, and in the pro-
       cess reminds lower courts of the foundational rule that any
       equitable remedy they issue must not be “more burdensome
       to the defendant than necessary to [redress]” the plaintiff ’s
       injuries. Califano, 442 U. S., at 702.
          Lower courts would be wise to take heed. Retiring the
       universal injunction may not be the answer to everything
       that ails us. But it will lead federal courts to become a little
       truer to the historic limits of their office; promote more
       carefully reasoned judicial decisions attuned to the facts,
       parties, and claims at hand; allow for the gradual accretion
       of thoughtful precedent at the circuit level; and reduce the
       pressure on governments to seek interlocutory relief in this
       Court. A return to a more piecemeal and deliberative judi-
       cial process may strike some as inefficient. It may promise
       less power for the judge and less drama and excitement for
       the parties and public. But if any of that makes today’s de-
       cision wrong, it makes it wrong in the best possible ways,
       for “good judicial decisions are usually tempered by older
       virtues.” DHS, 589 U. S., at ___ (slip op., at 4).
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       SUPREME COURT OF THE UNITED STATES
                                 _________________

                                  No. 23A763
                                 _________________


        RAUL LABRADOR, ATTORNEY GENERAL OF IDAHO
         v. PAM POE, BY AND THROUGH HER PARENTS AND NEXT
              FRIENDS, PENNY AND PETER POE, ET AL.

                        ON APPLICATION FOR STAY
                                [April 15, 2024]

          JUSTICE KAVANAUGH, with whom JUSTICE BARRETT
       joins, concurring in the grant of stay.
          A Federal District Court in Idaho preliminarily enjoined
       Idaho from enforcing its new Vulnerable Child Protection
       Act. The U. S. Court of Appeals for the Ninth Circuit
       declined to stay the injunction. Idaho then filed an
       emergency application in this Court for a partial stay of the
       injunction. The Court today grants Idaho’s emergency
       application. I agree with the Court’s decision.
          I add this concurring opinion to explain how this Court
       typically resolves emergency applications in cases like
       this—namely, in cases where a party has sought to enjoin
       enforcement of a new state or federal law in the often years-
       long period until a final decision on the merits.
          Traditionally, one important factor when this Court
       decides an emergency application involving a new law is
       likelihood of success on the merits. The likelihood of
       success on the merits factor can pose difficulty, however,
       because it can require the Court to assess the merits of
       important cases earlier and more quickly than is ordinarily
       preferable, and to do so without the benefit of full merits
       briefing and oral argument. But when resolving emergency
       applications involving significant new laws, this Court
       often cannot avoid that difficulty. It is not ideal, but it is
       reality. Given that reality, the Court must then determine
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                          KAVANAUGH, J., concurring

       the best processes for analyzing likelihood of success on the
       merits in emergency cases.
                                       I
         Here is how the issue typically arises. After a new federal
       statute, federal regulation, or state law has been enacted,
       an adversely affected party who contends that the new law
       violates the Constitution or federal law may seek a pre-
       enforcement preliminary injunction in federal district
       court. A preliminary injunction prevents the government
       from enforcing its new law pending the eventual decision
       on the merits. If the district court grants a preliminary
       injunction, the government may promptly seek a stay in the
       court of appeals.       Or if the district court denies a
       preliminary injunction, the plaintiff may promptly seek an
       injunction in the court of appeals.
         The party that loses in the court of appeals may then seek
       emergency relief in this Court. The losing party may argue,
       for example, that a consequential new law has been
       mistakenly enjoined or mistakenly green-lighted by the
       lower courts, and ask this Court to grant relief.
         When an emergency application comes to this Court, we
       must decide it—grant or deny. The Court has no authority
       to reject or turn away emergency filings without deciding
       them.
         It is critical to appreciate the significance of the decision
       that this Court is being asked to make in emergency cases
       involving new laws. Keep in mind how much time it takes
       for the litigation process to run its course and reach a final
       merits ruling in the district court, court of appeals, and
       potentially this Court—often one to three years or even
       longer. The final merits decision, when it occurs, will of
       course be important. But the interim status of the law—
       that is, whether the law is enforceable during the several
       years while the parties wait for a final merits ruling—itself
       raises a separate question of extraordinary significance to
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       the parties and the American people. And that is the
       question this Court often must address when deciding
       emergency applications involving new laws.1
         Consider a few examples. Suppose that a State enacts a
       new online defamation law. Do communications and media
       companies have to alter their editorial policies and posting
       practices to comply with that new speech law during the
       several years while its constitutionality under the First
       Amendment is being litigated on the merits? Or suppose
       that EPA issues major new environmental regulations. Do
       businesses have to restructure their operations or build
       new facilities to comply with the new regulations during the
       multiyear period while the legality of the regulations is
       being challenged in court? Cf. West Virginia v. EPA, 577
       U. S. 1126 (2016) (enjoining Clean Power Plan pending
       review by the Court of Appeals and Supreme Court).
         In those emergency cases, the plaintiffs—including
       individuals and businesses—often will suffer irreparable
       harm if the relevant government officials are not enjoined
       from enforcing the law during that multiyear period. But
       on the flip side, other parties—including the Federal
       Government, the States, or other individuals and
       businesses—often will suffer irreparable harm if the
       relevant government officials are enjoined from enforcing
       the law during that multiyear period.
         If the moving party has not demonstrated irreparable
       harm, then this Court can avoid delving into the merits.
       But not infrequently—especially with important new
       laws—the harms and equities are very weighty on both
       sides. In those cases, this Court has little choice but to
       ——————
         1 The Court also receives emergency applications in other contexts,

       such as capital cases, election-law cases, and a smorgasbord of other
       matters. But a distinct difficulty arises when we consider emergency
       applications involving the enforcement of new federal or state laws. This
       opinion uses “laws” as shorthand to include regulations and executive
       policies as well.
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       decide the emergency application by assessing likelihood of
       success on the merits. Courts historically have relied on
       likelihood of success as a factor because, if the harms and
       equities are sufficiently weighty on both sides, the best and
       fairest way to decide whether to temporarily enjoin a law
       pending the final decision is to evaluate which party is most
       likely to prevail in the end.2
          The merits issues raised in emergency applications
       involving new laws can be consequential and difficult. And
       those applications can require this Court to assess the
       merits on a tight timeline—without the benefit of many
       reasoned lower-court opinions, full merits briefing, and oral
       argument. It is worth noting that this difficulty is not
       unique to this Court—lower courts must also deal with
       applications for interim relief that can require them to
       assess the merits on a tight timeline.
          That scenario is not always optimal for orderly judicial
       decisionmaking. So various suggestions have been made to
       eliminate or reduce the need for this Court to address
       likelihood of success on the merits when resolving
       emergency applications involving new laws.              Some
       suggestions have force; others are questionable. As I see it,
       none completely eliminates the need for this Court to make
       those calls.
          First, some suggest that this Court, when receiving an
       emergency application involving a new law, should adopt a
       default posture of deference to the court of appeals’ ruling
       on a stay or injunction, especially when the court of appeals
       ——————
          2 This Court has used different formulations of the factors for granting

       emergency relief. All formulations basically encompass (1) likelihood of
       success on the merits (or a fair prospect of success); (2) certworthiness;
       (3) the harms to the parties; and (4) the equities and public interest. See,
       e.g., Hollingsworth v. Perry, 558 U. S. 183, 190 (2010) (per curiam). For
       present purposes, I will treat likelihood of success as equivalent to a fair
       prospect of success. If there is any meaningful difference among the
       common formulations of the emergency-relief factors (which I tend to
       doubt), those distinctions can be explored if necessary in a future case.
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       has not disturbed the district court’s ruling on whether to
       grant or deny an injunction. See, e.g., post, p. 1 (JACKSON,
       J., dissenting from grant of stay). Under that view, this
       Court should deny most emergency applications in cases
       involving new laws, regardless of whether an injunction
       against enforcement of the law was ultimately upheld or
       denied by the court of appeals.
          I respectfully disagree with that suggestion. Again,
       whether a new federal or state law can be enforced during
       the several years before a final ruling on the merits can
       itself be an important national question. And this Court
       has a responsibility to resolve major questions of national
       importance. So a default policy of off-loading to lower
       courts the final word on whether to green-light or block
       major new laws for the several years until a final ruling on
       the merits would amount to an abdication of this Court’s
       proper role. Moreover, given the possibility that different
       courts of appeals might reach different conclusions on
       whether to enjoin the enforcement of a new law for the
       several years pending final review, a deferential approach
       could lead to substantial uncertainty and disuniformity
       that become untenable in cases involving nationwide
       government programs or national businesses.
          I would therefore not adopt a default position where the
       Court always (or almost always) denies emergency
       applications involving new laws. Rather, the Court needs
       some way to evaluate when to grant relief. And one of the
       traditional, tried-and-true factors has been likelihood of
       success on the merits.
          Second, one might reasonably think that this Court,
       when dealing with an emergency application, should simply
       try to “preserve the status quo.” Sounds attractive in
       theory. But in practice, difficulties emerge when trying to
       define the status quo. Is the status quo the situation on the
       ground before enactment of the new law? Or is the status
       quo the situation after enactment of the new law, but before
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       any judicial injunction? Or is the status quo the situation
       after any district court ruling on a preliminary injunction?
       Or is the status quo the situation after a court of appeals
       ruling on a stay or injunction?
          There is no good blanket answer to the question of what
       the status quo is. Each conception of the status quo is
       defensible, but there is no sound or principled reason to pick
       one over another as a rule to apply in all cases involving
       new laws.
          And even if we could settle on one definition of the status
       quo, applying that one definition consistently across the
       range of emergency applications would lead to very
       troubling results. Suppose, for example, that the status quo
       is defined to mean the status before enactment of the new
       law. If courts applied that rule across the board, some
       plainly constitutional and democratically enacted laws
       would effectively be blocked for several years pending the
       final decision on the merits. Or suppose instead that the
       status quo is defined as the status after the new law is in
       place. In that case, some plainly unconstitutional or
       otherwise illegal laws would nonetheless remain in effect
       and be enforced against individuals and businesses for
       several years pending the final decision on the merits.
          I doubt that anyone would tolerate such an inequitable
       and scattershot approach. So even if we could define the
       status quo in theory in a principled way across all cases, a
       blanket rule of “preserving the status quo” in application
       would not be suitable for this Court’s emergency docket.
       That is yet another reason why the Court throughout its
       history has relied on likelihood of success on the merits as
       an essential factor in determining when to grant emergency
       relief in individual cases.
          Third, JUSTICE BARRETT has emphasized that the Court
       can and should take care to focus on certworthiness when
       considering emergency applications. Does 1–3 v. Mills, 595
       U. S. ___ (2021) (BARRETT, J., concurring in denial of
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       application for injunctive relief ). If the underlying merits
       issue would not warrant this Court’s review when the case
       returned to the Court on the merits docket, then we should
       deny the application and leave the question of interim relief
       to the court of appeals. I fully agree with JUSTICE
       BARRETT’s important insight. Emphasizing certworthiness
       as a threshold consideration helps to prevent parties from
       using “the emergency docket to force the Court to give a
       merits preview in cases that it would be unlikely to take.”
       Id., at ___ (slip op., at 1).
         Of course, the certworthiness factor is, by definition, only
       a partial cure for the issue here: Although emphasizing
       that factor reduces the number of emergency applications
       involving new laws where we have to assess the merits,
       some of the most significant and difficult emergency
       applications will readily clear the certworthiness bar. And
       in those cases, we may still have to assess likelihood of
       success on the merits.
         Fourth, some suggest that the Court should prohibit so-
       called nationwide and statewide injunctions—injunctions
       that prevent enforcement of a law against persons other
       than the plaintiffs.        The theory is that eliminating
       nationwide and statewide injunctions by district courts will
       in turn reduce the number of emergency applications
       involving new laws that make it to this Court, or at least
       reduce the number of applications where this Court needs
       to assess the merits.
         As I see it, prohibiting nationwide or statewide
       injunctions may turn out to be the right rule as a matter of
       law regardless of its impact on this Court’s emergency
       docket. See ante, at 4–5, 13 (GORSUCH, J., concurring in
       grant of stay). More to the point for present purposes, I
       agree that such a rule could somewhat reduce the number
       of emergency applications that make it to this Court and
       require the Court to assess the merits.
         To begin with, the government party might not seek
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       immediate appellate (or Supreme Court) review of a
       preliminary injunction that is confined to one or a few
       individual parties. And an emergency application to this
       Court where the issue concerns only a few individual
       parties may not clear the certworthiness bar.3
          That said, a rule prohibiting nationwide or statewide
       injunctions would not eliminate the need for this Court to
       assess the merits of some emergency applications involving
       new laws. For one, there is ongoing debate about whether
       any such rule would apply to Administrative Procedure Act
       cases involving new federal regulations, given the text of
       the APA. See Griffin v. HM Florida-ORL, LLC, 601 U. S.
       ___, ___, n. 1 (2023) (statement of KAVANAUGH, J.,
       respecting denial of application for stay) (slip op., at 3, n. 1);
       5 U. S. C. §706(2). But put that caveat aside for now.
          Even if a district court enjoins a new federal statute or
       state law only as to the particular plaintiffs, that injunction
       could still have widespread effect. For example, the
       plaintiff might be a State, or the plaintiff might be an
       association that has many members, or the plaintiffs might
       file a class action for classwide injunctive relief under Rule
       23(b) of the Federal Rules of Civil Procedure. So even if
       district court injunctions are confined to the plaintiffs,
       there still will be emergency applications with nationally
       important effects that come to this Court and clear the
       certworthiness bar, thereby still requiring this Court to
       assess the merits.
          Moreover, the effects of a rule prohibiting nationwide or
       statewide injunctions on this Court’s emergency docket can
       be diminished by vertical stare decisis. The general
       discussion of the scope of district court injunctions often
       overlooks the important role of the court of appeals. Even

       ——————
         3 The scope of the injunction may affect evaluation not only of

       certworthiness but also of the harms to the government defendant and
       other affected parties.
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       when district court injunctions are limited to the plaintiffs,
       the losing party in the district court’s preliminary
       injunction proceeding may promptly seek an injunction or
       stay in the court of appeals. And any ensuing decision by
       the court of appeals to grant or deny injunctive relief could
       then have precedential effect—formally, when there is a
       precedential opinion, or perhaps informally, when there is
       not—on other district courts in that circuit when other
       parties seek similar injunctive relief. After all, with any
       consequential new law, many different parties may seek
       preliminary injunctions in separate proceedings in the
       district courts within a circuit.
          As a result, the ruling by the court of appeals on an
       emergency application for a stay or injunction in a discrete
       case (or cases) can often determine whether the new law
       continues to be enforced across the entire circuit. And in
       those circumstances, the losing party in the court of appeals
       may seek relief in this Court and point out that the court of
       appeals decision may have broader circuitwide impact—
       and is therefore different from just a single district court
       ruling involving a few plaintiffs. Put simply, when a court
       of appeals ruling on an emergency stay or injunction could
       affect enforcement of a significant new law throughout the
       circuit, that broader impact may sometimes make the case
       significant enough to clear the certworthiness bar in this
       Court.
          With any consequential new federal law, moreover, it is
       likely that different parties will seek preliminary
       injunctions in multiple circuits. And what happens if
       different courts of appeals reach different results? For
       example, what if a major new federal law regulating social
       media companies, or immigration, or energy producers, or
       healthcare, or securities markets is enforceable in one
       circuit but not in another for the several years pending final
       review on the merits? That disuniformity could often be
       highly problematic. Again, an emergency application to
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       this Court in those circumstances could clear the
       certworthiness bar, meaning that we may still have to
       consider likelihood of success when deciding it.
         In short, a rule limiting the scope of district court
       injunctions may be correct as a matter of law, even apart
       from its effects on this Court’s emergency docket. And the
       result of a rule against nationwide or statewide injunctions
       may be to somewhat reduce the number of emergency
       applications involving new laws where this Court must
       assess likelihood of success on the merits. But that rule
       would not eliminate the need for this Court to sometimes
       decide important emergency applications involving new
       laws by assessing likelihood of success on the merits.4
                                     II
         As the discussion so far has sought to illustrate, this
       Court cannot avoid evaluation of the merits in at least some
       emergency applications involving consequential new laws.
         If I am correct about that basic reality, another important
       question concerns this Court’s processes. What process
       should this Court employ for assessing likelihood of success
       on the merits with respect to an emergency application,
       particularly in cases involving important new federal or
       state laws? Given the extraordinary significance of the
       question whether a consequential new law can be enforced
       during the several years while merits litigation is ongoing,
       the Court should use as many tools as feasible and
       appropriate to make the most informed and best decision.
       Sometimes that might mean taking more time (if available),
       ordering supplemental briefing, or inviting amicus briefs.
       In certain circumstances, moreover, the Court might
       benefit from oral argument or may even grant certiorari
       before judgment.
       ——————
         4 Here, the State’s application seeks a stay primarily because of the

       scope of the injunction. That issue is itself certworthy, and I believe that
       the State has a likelihood of success on that issue.
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         Especially in recent years, the Court has employed many
       of those tools to help the Court better decide important
       emergency applications. See, e.g., Biden v. Nebraska, 600
       U. S. 477 (2023) (Court granted certiorari before judgment
       and expedited oral argument after receiving emergency
       application involving federal student loan forgiveness
       program); National Federation of Independent Business v.
       OSHA, 595 U. S. 109 (2022) (per curiam) (Court granted
       expedited oral argument after receiving emergency
       application involving OSHA vaccine mandate); Biden v.
       Missouri, 595 U. S. 87 (2022) (per curiam) (same, for
       emergency application involving CMS vaccine mandate).
       And I believe that the Court should continue to be flexible
       in employing appropriate procedures so as to best decide
       important emergency applications.
         A related question is whether the Court should issue
       opinions—that is, opinions for the Court as distinct from
       separate concurring or dissenting opinions—to publicly
       explain our grounds for granting or denying an emergency
       application involving an important new law. Opinions for
       the Court can sometimes be appropriate in order to explain
       our reasoning, as in the vaccine mandate cases, for
       example. See ibid.5 That said, an opinion for the Court
       addressing likelihood of success on the merits for an
       emergency application can sometimes come at a cost. A
       written opinion by this Court assessing likelihood of success
       on the merits at a preliminary stage can create a lock-in
       effect because of the opinion’s potential vertical

       ——————
         5 During the COVID–19 pandemic, the Court sometimes found it

       important to issue opinions on COVID–19-related legal questions, in part
       because of the widespread assumption that the pandemic would largely
       be over before any final ruling on the merits in the court system.
       Therefore, the emergency docket during the COVID–19 pandemic in
       essence was the merits docket as to certain COVID–19-related issues.
       Not surprisingly, this Court’s emergency docket, while still robust, has
       shrunk in the years since COVID–19.
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       precedential effect (de jure or de facto), which can thereby
       predetermine the case’s outcome in the proceedings in the
       lower courts and hamper percolation across other lower
       courts on the underlying merits question. (Of course, that
       can happen to a lesser degree even when the Court simply
       issues a bare-bones order granting or denying relief.) So in
       my view, issuing opinions for the Court with respect to
       emergency applications may sometimes be appropriate, but
       we should exercise appropriate caution before doing so.
                               *    *    *
          Although the volume of cases challenging new laws and
       coming to this Court on the emergency docket is a relatively
       recent development, this Court’s emergency docket—and
       the difficulties associated with it—are not new. The
       emergency docket has always existed, and both the Court
       and even individual Justices acting in chambers have made
       a plethora of important decisions for the Nation in an
       emergency posture. See, e.g., West Virginia v. EPA, 577
       U. S. 1126 (2016) (temporarily enjoining Clean Power
       Plan); Purcell v. Gonzalez, 549 U. S. 1 (2006) (per curiam)
       (vacating injunction pending appeal regarding state voter
       ID law); Rubin v. United States, 524 U. S. 1301 (1998)
       (Rehnquist, C. J., in chambers) (denying stay pending
       certiorari of order enforcing subpoenas to Secret Service
       agents regarding observations of the President);
       Schlesinger v. Holtzman, 414 U. S. 1321 (1973) (Marshall,
       J., in chambers) (staying District Court’s injunction that
       ordered a halt to bombing in Cambodia); Youngstown Sheet
       & Tube Co. v. Sawyer, 343 U. S. 579, 584, 589 (1952) (after
       expedited oral argument, affirming District Court’s
       preliminary injunction that proscribed seizure of steel mills
       by government); cf. Rosenberg v. United States, 346 U. S.
       273, 283–285 (1953) (vacating stay of execution of the
       Rosenbergs).
          In my view, the Court can potentially reduce the number
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       of emergency applications involving new laws where the
       Court has to assess likelihood of success on the merits. But
       this Court is responsible for resolving questions of national
       importance, even when they arise on the emergency docket.
       Fulfilling that responsibility will sometimes require us to
       assess likelihood of success on the merits in emergency
       cases involving new laws, as the Court has in the past.
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       SUPREME COURT OF THE UNITED STATES
                                  _________________

                                   No. 23A763
                                  _________________


        RAUL LABRADOR, ATTORNEY GENERAL OF IDAHO
         v. PAM POE, BY AND THROUGH HER PARENTS AND NEXT
              FRIENDS, PENNY AND PETER POE, ET AL.

                         ON APPLICATION FOR STAY
                                 [April 15, 2024]

          JUSTICE JACKSON, with whom JUSTICE SOTOMAYOR joins,
       dissenting from grant of stay.
          When a party asks this Court to “sideste[p] the ordinary
       judicial process” and intervene at an atypical juncture, our
       default should be “restraint.” Barr v. East Bay Sanctuary
       Covenant, 588 U. S. ___, ___ (2019) (SOTOMAYOR, J., dis-
       senting from grant of stay) (slip op., at 5). We do not have
       to address every high-profile case percolating in lower
       courts, and there are usually many good reasons not to do
       so. Few applicants can meet our threshold requirement of
       “an exceptional need for immediate relief,” by showing that
       they will suffer not just substantial harm but an “irreversi-
       ble injury . . . occurring during the appeals process that can-
       not be later redressed.” Louisiana v. American Rivers, 596
       U. S. ___, ___ (2022) (KAGAN, J., dissenting) (slip op., at 2).
       Even when an applicant establishes that highly unusual
       line-jumping justification, we still must weigh the serious
       dangers of making consequential decisions “on a short fuse
       without benefit of full briefing and oral argument.” Does 1–
       3 v. Mills, 595 U. S. ___, ___ (2021) (BARRETT, J., concurring
       in denial of application for injunctive relief ) (slip op., at 1).
       Without adequate caution, our decisions risk being not only
       “unreasoned,” but unreasonable. Whole Woman’s Health v.
       Jackson, 594 U. S. ___, ___ (2021) (KAGAN, J., dissenting
       from denial of application for injunctive relief ) (slip op., at
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       1–2).
          This case presents numerous reasons for exercising re-
       straint. As explained in Part I below, the State of Idaho’s
       emergency application asks us to override the decisions of
       two lower courts based on an issue not clearly implicated
       and under circumstances where the State does not contest
       that its law should remain enjoined as likely unconstitu-
       tional, at least as applied to the plaintiffs. As described in
       Part II, even if today’s application actually involved a “uni-
       versal injunction,” the emergency docket would not be the
       place to address the open and challenging questions that
       that issue raises. I respectfully dissent.
                                     I
         Three interdependent reasons counsel against our inter-
       vention. First of all, the applicant seeks displacement of
       the decisions of both “the District Court and . . . a unani-
       mous panel of the Court of Appeals.” Beame v. Friends of
       the Earth, 434 U. S. 1310, 1312 (1977) (Marshall, J., in
       chambers). A Federal District Court determined that a
       never-before-in-effect Idaho law is likely unconstitutional,
       and that court issued a preliminary injunction that tempo-
       rarily blocks the law’s enforcement while it considers the
       merits of the challengers’ legal claims. Wishing to enforce
       the challenged law during the course of the litigation, the
       State asked for a stay pending appeal. But both the District
       Court and the Ninth Circuit denied that request. Our re-
       spect for lower court judges—no less committed to fulfilling
       their constitutional duties than we are and much more fa-
       miliar with the particulars of the case—normally requires
       an applicant seeking an emergency stay from this Court af-
       ter two prior denials to carry “an especially heavy burden.”
       See Edwards v. Hope Medical Group for Women, 512 U. S.
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       1301, 1302 (1994) (Scalia, J., in chambers) (internal quota-
       tion marks omitted).1
          Second, the State has not come close to carrying its heavy
       burden in this case. No party disputes that, assuming all
       of the other stay factors were met, Idaho needs to show “a
       reasonable probability that this Court will grant certiorari”
       in order to obtain an emergency stay. Maryland v. King,
       567 U. S. 1301, 1302 (2012) (ROBERTS, C. J., in chambers)
       (internal quotation marks omitted); see also Emergency Ap-
       plication for Stay 29–32; Response in Opposition 19–24; Re-
       ply Brief 14–15.2 Idaho maintains that this case is certwor-
       thy because it raises the question of whether a district court
       can issue an injunction that grants relief directed to all po-
       tentially impacted nonparties—a so-called “universal in-
       junction.” The only problem: That’s not what the District
       Court did here. Far from attempting to grant relief to par-
       ties not before it, the District Court expressly stated that,
       ——————
          1 The concurrence seems perplexed by the idea that lower court deci-

       sions about interim relief deserve our respect. See ante, at 6–7 (opinion
       of GORSUCH, J.) (hereinafter concurrence). In its telling, that “upside-
       down” suggestion leaves this Court either powerless to correct mistakes
       or hopelessly inconsistent when we do. Ante, at 6. But to say that a party
       bears an especially heavy burden is not to say that burden can never be
       carried. See Little v. Reclaim Idaho, 591 U. S. ___, ___ (2020) (ROBERTS,
       C. J., joined by, inter alios, GORSUCH, J., concurring in grant of stay) (slip
       op., at 5) (“No one has overlooked that the State bears an ‘especially
       heavy burden’ in justifying a stay pending its appeal to the Ninth Cir-
       cuit[,] . . . [b]ut in my view that burden has been met”). Even when two
       lower courts deny relief, an applicant can still prevail in this Court under
       our traditional emergency stay factors. The heavier burden, though, has
       long served as a sobering reminder that, after two prior levels of review,
       interim relief has consistently been deemed unwarranted.
          2 While the concurrence appears to attribute the certworthiness con-

       sideration to this dissent, see ante, at 7–8, it is standard practice for this
       Court to assess certworthiness when evaluating an emergency applica-
       tion. See, e.g., Does 1–3 v. Mills, 595 U. S. ___, ___ (2021) (BARRETT, J.,
       concurring in denial of application for injunctive relief ) (slip op., at 1);
       Little, 591 U. S., at ___ (slip op., at 2); Hollingsworth v. Perry, 558 U. S.
       183, 190 (2010) (per curiam).
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       “[i]n the absence of class certification, injunctive relief gen-
       erally should be limited to the named plaintiffs.” ___
       F. Supp. 3d ___, ___ (Idaho 2023), App. A to Application for
       Stay 52. Then, ultimately, the District Court settled on is-
       suing a statewide preliminary injunction for a party-cen-
       tered, fact-specific reason: because it found that doing so
       was necessary to protect the particular plaintiffs before the
       court, including two minors proceeding under pseudonyms,
       against action by the State it deemed likely unconstitu-
       tional. Id., at 53. Any error by the District Court as to the
       necessity of the preliminary relief it has chosen raises, at
       best, a factbound question, not a certworthy issue.3
          Third, and finally, Idaho seeks emergency relief without
       contesting that its law should be preliminarily enjoined as
       likely unconstitutional, at least as applied to the plaintiffs
       before the District Court. See ante, at 3 (opinion of
       GORSUCH, J.). The State takes this litigating position while
       defending a statute that regulates access to gender-affirm-
       ing medical care for transgender children. That is a serious
       and consequential matter, which, indeed, raises the profile
       of this case and the stakes of our intervention, for the law
       at issue here will have a significant practical impact on eve-
       ryone it affects. The constitutional questions around this
       law are significant as well because statutes like this one
       raise new and complex issues. Unlike in myriad other
       emergency cases, however, the State is not seeking interim
       ——————
          3 The concurrence all but ignores this key aspect of the District Court’s

       decision. See ante, at 2–3. But even the most ardent critics of “universal
       injunctions” acknowledge that, in providing relief to the parties before a
       court, an injunction may incidentally benefit nonparties. See, e.g.,
       United States v. Texas, 599 U. S. 670, 693 (2023) (GORSUCH, J., concur-
       ring in judgment); Trump v. Hawaii, 585 U. S. 667, 717 (2018) (THOMAS,
       J., concurring). We might ultimately disagree in this case about whether
       the District Court’s determination about the necessary scope of relief to
       protect the plaintiffs qualifies as an abuse of discretion. See ante, at 8,
       n. 2. But any such debate would not transform the State’s case-specific,
       fact-intensive request for error correction into a certworthy issue.
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       relief based on any errors by the lower courts with respect
       to consequential merits questions. Contra, ante, at 8–10.
          Instead, in a troubling bid for this Court’s early interven-
       tion, the State asks us to wade into the middle of ongoing
       lower court proceedings to weigh in on a single query con-
       cerning only one aspect of a preliminary determination by
       the District Court: whether the temporary relief that the
       District Court has afforded pending its review of the merits
       sweeps too broadly. In my view, we should resist being con-
       scripted into service when our involvement amounts to mi-
       cromanaging the lower courts’ exercise of their discretion-
       ary authority in the midst of active litigation. This Court is
       not compelled to rise and respond every time an applicant
       rushes to us with an alleged emergency, and it is especially
       important for us to refrain from doing so in novel, highly
       charged, and unsettled circumstances. Here, where the
       State does not even seek relief from the District Court’s de-
       termination that the law is likely unconstitutional as to at
       least some of the individuals it will impact, caution is espe-
       cially warranted.
                                      II
          JUSTICE GORSUCH’s concurrence demonstrates the perils
       of treating this application any other way. Conspicuously
       minimized in that opinion is the word that appears, bolded
       and capitalized, on the cover of the State’s application:
       “EMERGENCY.” The concurrence proceeds, instead, to
       treat the State’s application as a run-of-the-mill motion for
       interim relief, just as any court might dispose of such a mo-
       tion on its regular docket. See ante, at 3. From the stand-
       point of an interest in taming our emergency docket, that is
       folly.4

       ——————
         4 This is not to say that the traditional stay factors do not matter, or

       that this Court can only entertain an application that is labeled as an
       “emergency.” See ante, at 10, n. 3. Rather, my point is that not every
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                                JACKSON, J., dissenting

          What is more, in resolving this particular application, the
       concurrence reaches out to address an unsettled remedial
       issue that, by the concurrence’s own assessment, is of pro-
       found significance for the functioning of our government.
       See ante, at 11. It appears, then, that if the concurrence is
       right that “universal injunctions . . . ‘tend to force judges
       into making rushed, high-stakes, low-information deci-
       sions,’ ” the majority has taken the bait. Ante, at 12.
          To be clear, though, the Court has not decided the propri-
       ety of “universal injunctions.” Whether federal courts have
       the power to issue “universal injunctions” is “an important
       question that could warrant our review in the future,” not
       a foregone conclusion dictated by our precedent. Griffin v.
       HM Florida-ORL, LLC, 601 U. S. ___, ___ (2023)
       (KAVANAUGH, J., statement respecting denial of application
       for stay) (slip op., at 3); see also, e.g., Department of Home-
       land Security v. New York, 589 U. S. ___, ___ (2020)
       (GORSUCH, J., concurring in grant of stay) (slip op., at 5)
       (framing “underlying equitable and constitutional ques-
       tions raised by . . . nationwide injunctions” as ones “we
       might at an appropriate juncture take up”). After today,
       that question remains.
          Nor does history offer an easily discernible answer. As
       one leading scholar candidly admits, “traditional equity
       lacked the sharply defined rule” that the concurrence would
       claim the Court adopted today. S. Bray, Multiple Chancel-
       lors: Reforming the National Injunction, 131 Harv. L. Rev.
       417, 421 (2017). And other leading scholars are actively de-
       bating what lessons can be gleaned from the historical rec-
       ord. See A. Frost, In Defense of Nationwide Injunctions, 93
       N. Y. U. L. Rev. 1065, 1080–1090 (2018) (offering an ac-
       count of “universal injunctions” consistent with Article III

       ——————
       alleged error made by a lower court judge warrants this Court’s immedi-
       ate intervention and correction in real time, while the lower court’s pro-
       ceedings are pending.
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       and American courts’ traditional equitable powers); see also
       M. Sohoni, The Lost History of the “Universal” Injunction,
       133 Harv. L. Rev. 920, 1008 (2020) (expressing concern
       that, in debate over the limits of federal courts’ equitable
       powers, “we risk allowing selectively crafted conceptions of
       historical tradition to run away with us”).
          Simply put, the questions raised by “universal injunc-
       tions” are contested and difficult. I would not attempt to
       take them on in this emergency posture, even in a case that
       actually raised the issue. We do not have full adversarial
       briefing, the benefits of oral argument, or even a final opin-
       ion from the Court of Appeals. To the extent we can draw
       any lesson from the lower courts at this point, it is that,
       “when faced with laws very much like Idaho’s,” determining
       the appropriate bounds of equitable relief and the propriety
       of “universal injunctions” is not straightforward. Ante, at 8
       (citing Brandt v. Rutledge, 47 F. 4th 661, 672 (CA8 2022);
       L. W. v. Skrmetti, 83 F. 4th 460, 489–490 (CA6 2023)).
                                *    *     *
         All that said, I see some common ground. I agree that our
       emergency docket seems to have become increasingly un-
       workable. See ante, at 10. I share the concern that courts
       heed the limits of their power. See ante, at 12–13. And
       surely all could benefit from “more carefully reasoned judi-
       cial decisions attuned to the facts, parties, and claims at
       hand,” not to mention “a more . . . deliberative judicial pro-
       cess.” Ante, at 13. With respect, though, I worry that we
       may be too eager to find fault in everyone but ourselves.
         This Court will almost certainly have a chance to consider
       the entirety of this case soon, whoever prevails below. In
       the meantime, it is far better for all concerned to let the
       lower courts proceed unfettered by our intervention. We
       can, and usually should, wait to provide our assessment in
       the ordinary course—when it is our turn to do so. Put dif-
       ferently, whenever this Court must determine whether to
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       exercise its discretionary power to intervene in pending
       cases on an emergency basis, I firmly believe we must pro-
       ceed with both reason and restraint. Because the majority
       demonstrates neither today, I respectfully dissent.
